            Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 1 of 25




                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                               )
                                                        )
                           Plaintiff,                   )
                                                        )
v.                                                      )      No. 1:19-CR-696-PAE
                                                        )
ARI TEMAN,                                              )
                                                        )
                           Defendant.                   )

                     MOTION FOR NEW TRIAL BASED ON UNDISCLOSED
                          BRADY AND JENCKS ACT EVIDENCE

          Defendant Ari Teman (“Teman”), by and through undersigned counsel, Justin Gelfand and

Joseph A. DiRuzzo, III, respectfully moves this Court to grant a new trial based on Brady and

Jencks Act evidence that was not disclosed to the defense.

          I.       Introduction

          On January 19, 2020—less than 48 hours before trial—the Government first disclosed the

existence of critical impeachment evidence regarding witness Joseph Soleimani (“Soleimani”).

This evidence originated from a decision in a New York Housing Court action 1 that found

Soleimani’s company, ABJ Milano LLC, used dishonest tactics in attempting to evict an elderly,

disabled tenant, Stanley Howell (“Howell”), from his apartment.

          Recognizing the centrality of Soleimani’s testimony—and his credibility—to its case, the

Government immediately moved to preclude Teman from cross-examining Soleimani regarding




1
    ABJ Milano LLC v. Stanley Howell, 2018 NY Slip Op 2833. (Doc. 83-1).
          Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 2 of 25




his dealings with Howell. (Doc. 83). The Government represented that “there is nothing in [the

Housing Court] Order to suggest that… Soleimani… acted dishonestly…[.]” (Id. at 3).

         This Court was not yet convinced. On the first day of trial, this Court noted the importance

of Soleimani’s testimony to this case2 and observed that the disclosed Housing Court Order “is

indistinct if Soleimani is among the people dealing with the tenant.” (TR. at 33). This Court

directed the Government to “inquire of Soleimani whether there was evidence in the housing court

case that he was among the ABJ personnel who dealt with Howell. If his answer leaves any doubt

in your mind, you need to follow up and do so immediately. Then promptly report back to the

Court and the defense.” (Id. at 29) (emphasis added). This Court further explained that “the issue

is whether there was evidence at the [Housing Court] proceeding…that he interacted with the

tenant. If there was evidence that he interacted with the tenant, this is coming in.” (Id. at 32)

(emphasis added).

         But the Government never followed up; instead, the Government continued to maintain

that nothing in the Housing Court case was relevant to Soleimani’s credibility. At trial, the

Government questioned Soleimani about this issue:

         Q.       In 2018, did the housing court find in one case that your company had
                  misled a tenant about whether he could renew his lease?
         A.       Yes.
         Q.       And did you misrepresent anything to the tenant or was it others in your
                  company?
         A.       It was others.

(TR. at 502) (emphasis added).




2
 “The testimony of these witnesses [(Soleimani and Elie Gabay)] appears likely to be important at trial.” (TR. at
24).




                                                          2
          Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 3 of 25




         However, new evidence that the Government never disclosed to the defense reveals that

the Government’s representations regarding Soleimani and the evidence in the Housing Court case

were false. The full record of the Housing Court case—specifically, Soleimani’s under-oath

testimony in that case—establishes Soleimani’s personal involvement in his company’s dealings

with Howell.3 And these actions by Soleimani are the very interactions upon which the Housing

Court’s findings are based.

         This evidence cannot be reconciled with the Government’s representations regarding

Soleimani and his testimony at trial. This Court correctly anticipated the existence of additional

impeachment evidence in the Housing Court case and ordered the Government to obtain it and

make any necessary disclosures to the defense. But the Government failed to disclose this critical

evidence—either because the Government disregarded this Court’s order and failed to follow up

or because the Government obtained this evidence and failed to disclose it to the defense.

         As a result of the prosecution’s leading question and Soleimani’s responsive perjurious

testimony, Teman was precluded from questioning Soleimani about Howell and the Housing Court

case.

         This is a textbook Brady and Jencks Act violation which materially prejudiced Teman’s

defense. The Government’s suppression of this evidence prevented Teman from presenting to the

jury critical evidence of Soleimani’s credibility: that a court determined he was personally

involved in using dishonest tactics to evict a vulnerable tenant, and that he perjured himself in this


3
 As discussed further infra, the underlying records of Soleimani’s Housing Court testimony can only be obtained via
written request to the New York County Civil Court Clerk—a process that can take several weeks. Even had Teman
immediately sought this evidence upon the Government’s disclosure of the Housing Court action (on the eve of trial),
he would not have received the underlying evidence of Soleimani’s testimony until after trial concluded. In any event,
Teman reasonably relied on the Government’s representations regarding the scope of this evidence and fully expected
Government counsel to comply with this Court’s order to seek out and disclose this evidence.




                                                          3
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 4 of 25




case during the prosecution’s direct examination when testifying that only “others” were involved

and that he was not.

       This outcome—which this Court correctly anticipated in directing the Government to

further investigate Soleimani’s involvement with Howell—was clearly prejudicial to Teman.

Indeed, this Court expressly and appropriately admonished the Government not to rely only on

Soleimani’s representations:

       I expect that you will not credulously take Mr. Soleimani's point of view on this…
       Realistically, if he is among the people interacting with the tenant, I think the safer
       course here is to… permit the line of [impeachment]…, rather than creating an
       open appellate issue about whether you too aggressively took Soleimani’s side
       in…arguing… it was somebody else in his company who made the
       misrepresentations.

(TR. at 33) (emphasis added).

       It also appears this was not the only evidence the Government suppressed. In the same

Motion to Preclude (Doc. 83), the Government represented that even though Soleimani and witness

Elie Gabay (“Gabay”) were landlords with lengthy histories of tenant complaints and lawsuits,

“there is no indication that any landlord-tenant complaints or lawsuits against Soleimani, Gabay,

or their companies would be probative of their ‘character for truthfulness or untruthfulness.’” (Id.

at 3) (emphasis added). This important representation by the Government is also false. New

evidence never disclosed to the defense reveals numerous actions against both Soleimani and

Gabay that encompass dishonest business practices including “false certifications.” The

Government’s motion also misrepresented the significance of Gabay being fined “treble damages,”

which constitutes a finding of willful fraud. Thus, in stark contrast with the Government’s

representations, this undisclosed evidence is probative of Soleimani’s and Gabay’s credibility and

should have been presented to the jury through cross-examination by the defense.




                                                 4
            Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 5 of 25




           II.      Relevant Background

           Teman proceeded to trial on a second superseding indictment charging him with two counts

of bank fraud and two counts of wire fraud. (Doc. 55).

           This case was tried before a jury commencing on January 22, 2020. On January 23 and

January 24, the Government called Gabay and Soleimani as witnesses in its case-in-chief.

           Before trial commenced, on January 19, 2020, the Government filed an under-seal motion4

seeking an order prohibiting Teman from cross-examining Gabay and Soleimani about “lawsuits

and regulatory actions filed against them and their respective companies in landlord-tenant

actions.” (Doc. 83). Regarding Soleimani, the Government represented to this Court: “The

allegations against Soleimani cover a range of topics that plainly do not bear upon his credibility,

including, among other things, complaints about ‘slip and fall’ accidents and the physical condition

of housing.” (Id. at 1-2). The Government then stated there was a single “Housing Court Case” in

which the “allegations…center on a tenant who agreed to leave his apartment in exchange for a

monetary payment.” (Id. at 2). The Government couched the action by stating, “because Soleimani

initiated negotiations with the tenant, his conduct constituted ‘harassment’ within the meaning of

New York City Administrative Code § 27-2004(48)(f-2).” (Id.)

           In seeking the prohibition on cross-examination, the Government expressly represented to

the defense and this Court: “Here, there is no indication that any landlord-tenant complaints or

lawsuits against Soleimani…would be probative of [his] ‘character for truthfulness or

untruthfulness.’” (Id. at 3). The Government continued:

           Neither the Order in the Housing Court Case nor the facts that underlie it is
           admissible under Rule 608(b). Although the Housing Court Case resulted in the
           issuance of an Order against Soleimani’s business, there is nothing in that Order to
4
    This Court subsequently ordered the Government to file the motion on the public record. (See TR. at 23).




                                                           5
          Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 6 of 25




         suggest that either Soleimani or his business acted dishonestly toward the tenant or
         in the housing proceeding before the housing court. The facts at issue are not
         probative of Soleimani’s character for truthfulness or untruthfulness. At most,
         Soleimani’s business improperly contacted the tenant in violation of New York City
         administrative code.

(Id.).

         In advance of Soleimani’s testimony, this Court expressly addressed Soleimani’s conduct

in the Housing Court Case. This Court explained:

         Soleimani's trial testimony here would not be meaningfully discredited merely
         because of an employee of his misled a tenant. But it is possible that Soleimani was
         among the employees who personally made that misrepresentation to Howell. If so,
         although the question under 403 is a close one under which a court could rule either
         way, I would then permit the defense at this trial, as a means of impeachment, to
         establish through a single question or two put to Soleimani that a judge found that
         in 2017, he had misled a tenant to believe wrongly that his lease could not be
         renewed… [A] targeted leading question that elicits from Soleimani the fact of this
         discrete finding by a judge that he misled a tenant on this subject would assist the
         jury to assess Soleimani’s credibility without turning this proceeding into a trial
         within a trial about the episode relating to landlord ABJ and tenant Howell. And so,
         government, I will ask you to please inquire of Soleimani whether there was
         evidence in the housing court case that he was among the ABJ personnel who dealt
         with Howell. If his answer leaves any doubt in your mind, you need to follow up
         and do so immediately. Then promptly report back to the Court and the defense. I
         expect that if the answer is yes, that Soleimani was among the ABJ personnel who
         dealt with Howell, that Soleimani will have no difficulty on the stand here
         answering yes to a question from defense counsel about whether a judge so found.
         Obviously the government is at liberty to pull the poison and ask the question on
         direct as well. Cross-examination will then move on to other issues.

(TR. at 28-30).

         This Court then expressly prohibited the defense from referring to these matters in opening

statement and directed: “you are not to inquire into them in court unless and until I have given you

the affirmative green light to do so.” (Id. at 30). Government counsel stated: “We’ll inquire with

Mr. Soleimani and we’ll give an update to the Court.” (Id. at 33).




                                                  6
          Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 7 of 25




        The Government never provided an update to the Court or to the defense. Instead, during

its direct examination, Government counsel asked Soleimani:

        Q.      In 2018, did the housing court find in one case that your company had
                misled a tenant about whether he could renew his lease?
        A.      Yes.
        Q.      And did you misrepresent anything to the tenant or was it others in your
                company?
        A.      It was others.

(TR. at 502) (emphasis added).

        But the Government hid the ball from Teman and the Court. Soleimani himself was

personally and directly involved in the dealings with Howell which form the basis of the Housing

Court’s findings. And one need look no further than Soleimani’s under-oath testimony in that

proceeding—the contents of which were never disclosed to the defense under Brady or pursuant

to the Jencks Act. Moreover, by only first disclosing the Housing Court decision on the eve of

trial, the Government made it impossible for Teman to independently procure this evidence for

use at trial.

        As documented in the accompanying transcript (attached as Exhibit A), on August 8, 2018,

Soleimani testified under oath in Housing Court that:

        (a) He went to Howell’s apartment and personally convinced Howell to sign the agreement
            on the spot (Housing TR. at 58, 60);

        (b) He personally showed Howell other apartments to further induce Howell to accept the
            agreement and vacate the apartment (Housing TR. at 61);

        (c) He personally signed the agreement (Housing TR. at 57-58);

        (d) He was personally involved in drafting the agreement which the court found to be
            predatory (Housing TR. at 56-57); and

        (e) He personally directed his attorney to evict Howell (Housing TR. at 55).




                                                7
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 8 of 25




       This evidence flies in the face of the Government’s representation that “there is nothing in

[the Housing Court] Order to suggest that… Soleimani… acted dishonestly…” (Doc. 83 at 3). And

Soleimani’s sworn testimony in the Housing Court—which the Government suppressed over this

Court’s explicit directive—directly contradicts Soleimani’s blanket denial under oath in this case.

Indeed, the Government represented to the defense and to this Court that the “facts at issue [in the

Housing Court Case] are not probative of Soleimani’s character for truthfulness or untruthfulness.”

(Doc. 83 at 3). But as it turns out, these facts are highly probative of Soleimani’s character for

truthfulness and willingness to deceive an elderly, disabled tenant.

       The Government’s representations to the defense and to this Court, and its failure to

disclose impeachment evidence that was also discoverable under the Jencks Act, dramatically

prejudiced Teman at trial. As a result of the Government’s conduct, Teman was prohibited from

cross-examining Soleimani about his dishonesty toward a vulnerable tenant. Teman was further

precluded from confronting Soleimani with prior under-oath testimony that directly contradicted

his testimony in this case during the Government’s direct examination. By misleading this Court

and the defense in its disclosures, the Government exploited the suppression of this evidence to its

considerable advantage. This Court gave the Government the opportunity to ask a leading question

to Soleimani which precluded the defense from cross-examining Soleimani about this topic. As a

result, not only did the prosecution elicit perjurious testimony from Soleimani; the prosecution

prevented the defense from exposing this perjury in front of this jury through cross-examination.

       III.    This Motion is Timely Pursuant to Federal Rule of Criminal Procedure
               33(b)(1)

       Pursuant to Rule 33(b)(1), “[a]ny motion for a new trial grounded on newly discovered

evidence must be filed within 3 years after the verdict or finding of guilty.” Any other motion for




                                                 8
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 9 of 25




new trial “grounded on any reason other than newly discovered evidence must be filed within 14

days after the verdict or finding of guilty.” Fed. R. Crim. P. 33(b)(2).

       This motion is grounded entirely on evidence that, to this day, has never been disclosed to

 Teman and that was only discovered by Teman after the 14-day Rule 33 deadline had passed. As

 such, this motion is timely as it is being filed before January 29, 2023. See Fed. R. Crim. P.

 33(b)(1).

       IV.     This Court Should Grant a New Trial Based on the Government’s Brady
               Violation

       The United States Supreme Court and the Second Circuit have spoken forcefully about the

Government’s discovery obligations regarding the production of exculpatory and/or impeachment

evidence. “The basic rule of Brady is that the Government has a constitutional duty to disclose

favorable evidence to the accused where such evidence is ‘material’ either to guilt or to

punishment. Favorable evidence includes not only evidence that tends to exculpate the accused,

but also evidence that is useful to impeach the credibility of a government witness.” United States

v. Coppa, 267 F.3d 132, 139 (2d Cir. 2001) (internal citations to Brady and Giglio omitted). Thus,

it is black letter law that “[i]mpeachment evidence…as well as exculpatory evidence, falls within

the Brady rule.” United States v. Bagley, 473 U.S. 667, 676 (1985).

       A prosecutor “has a duty to learn of any favorable evidence known to the others acting on

the government’s behalf in the case, including the police.” Kyles v. Whitley, 514 U.S. 419, 437

(1995). But, as the Supreme Court made clear in no uncertain terms,

       whether the prosecutor succeeds or fails in meeting this obligation (whether, that
       is, a failure to disclose is in good faith or bad faith), the prosecution’s responsibility
       for failing to disclose known, favorable evidence rising to a material level of
       importance is inescapable.




                                                   9
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 10 of 25




Id. at 437-38 (internal citation to Brady omitted).

       Indeed, “the Government’s obligations under Brady encompass not only information that

is admissible in its present form but also material information that could potentially lead to

admissible evidence favorable to the defense.” United States v. Meregildo, 920 F. Supp. 2d 434,

438–39 (S.D.N.Y. 2013), aff’d sub nom. United States v. Pierce, 785 F.3d 832 (2d Cir. 2015); see

also United States v. Rodriguez, 496 F.3d 221, 225-26 (2d Cir. 2007) (“This obligation is designed

to serve the objectives of both fairness and accuracy in criminal prosecutions”).

       In Giglio, the Supreme Court explained that Brady “held that suppression of material

evidence justifies a new trial irrespective of the good faith or bad faith of the prosecution.” Giglio

v. United States, 405 U.S. 150, 153 (1972). Courts have universally granted new trials where the

Government violates Brady and/or Giglio. See, e.g., United States v. Andrews, 532 F.3d 900, 905

(D.C. Cir. 2008) (“If the undisclosed evidence is material, a new trial is required”) (internal

citations omitted); Government of Virgin Islands v. Fahie, 419 F.3d 249, 252 (3d Cir. 2005) (“the

Court has assumed that Brady violations that have affected the judgment of a jury normally will

be remedied by a new trial . . . .”); United States v. Cuffie, 80 F.3d 514, 517 (D.C. Cir. 1996)

(“Evidence is material if the undisclosed information could have substantially affected the efforts

of defense counsel to impeach the witness, thereby calling into question the fairness of the ultimate

verdict”) (internal citations omitted). “To demonstrate such a deprivation, a defendant must show

that: (1) the Government, either willfully or inadvertently, suppressed evidence; (2) the evidence

at issue is favorable to the defendant; and (3) the failure to disclose this evidence resulted in

prejudice.” Coppa, 267 F.3d at 140.




                                                 10
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 11 of 25




               A. The Government Suppressed Evidence

       In this case, there is no question the Government suppressed evidence the defense would

have used to impeach Soleimani. This Court imposed upon the Government an express obligation

to “inquire of Soleimani whether there was evidence in the housing court case that he was among

the ABJ personnel who dealt with Howell. If his answer leaves any doubt in your mind, you need

to follow up and do so immediately. Then promptly report back to the Court and the defense.”

(TR. at 28-30) (emphasis added). The Court further warned the Government “not [to] credulously

take Mr. Soleimani’s point of view on this.” (Id.). And Government counsel expressly

acknowledged this duty imposed upon the prosecution by this Court: “We’ll inquire with Mr.

Soleimani and we’ll give an update to the Court.” (Id. at 33).

       It is now apparent that the Government either ignored this Court’s directive and failed to

conduct this inquiry or conducted it and failed to disclose the evidence to the defense.

       Rather than upholding its constitutional duty, the Government elicited misleading, if not

perjurious, testimony in its direct examination of Soleimani.

       Q.      In 2018, did the housing court find in one case that your company had
               misled a tenant about whether he could renew his lease?
       A.      Yes.
       Q.      And did you misrepresent anything to the tenant or was it others in your
               company?
       A.      It was others.

(TR. at 502) (emphasis added).

       There can be no question a Brady violation occurred here because it is immediately

apparent from the Housing Court evidence that Soleimani was among the ABJ personnel who dealt

with Howell. In fact, Soleimani was ABJ’s sole witness in the Housing Court Case, and his

testimony regarding his personal dealings with Howell forms the basis for the Housing Court’s




                                                11
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 12 of 25




ruling. This Court ordered the Government to seek out precisely this evidence. But the Government

failed to do so.

        The Government did not disclose the truth to the defense or to this Court—and, in doing

so, prevented the truth from ever being known and considered by the jury.

                   B. The Evidence Is Favorable to the Defendant

        This suppressed evidence—namely, Soleimani’s personal involvement in a scheme to use

dishonest tactics in an attempt to evict an elderly tenant, and his subsequent dishonest testimony

in this case about his own involvement—is overwhelmingly favorable to Teman. The Government

called Soleimani as a critical witness in its case-in-chief and asked the jury throughout trial to rely

on the veracity of his claims.

        The evidence personally implicating Soleimani in the Housing Court Case is, alone,

profoundly favorable to Teman. But this was even more significant. On direct examination in this

case, Soleimani lied about his involvement with Howell. He said only “others” in his company

made misrepresentations to Howell. (TR. at 502). But the undisclosed Giglio material proves

otherwise. Soleimani’s own testimony in Housing Court establishes he was personally involved in

the misrepresentations made to Howell which form the basis for the Housing Court’s findings.

        Had the Government disclosed this information to Teman—which was Constitutionally

required and which this Court expressly ordered the Government to do—Teman would have

established through cross-examination that Soleimani deceived Howell and was personally

implicated in his company’s dishonesty by a Housing Court judge. Teman would have further

demonstrated to the jury that the Government’s star witness lied under oath when questioned on

direct examination in this case. A witness who lies directly to the jury loses all credibility with that




                                                  12
         Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 13 of 25




jury. See United States v. Payne, 591 F.3d 46, 60 (2d Cir.2010) (“Assessments of witness

credibility and choices between competing inferences lie solely within the province of the jury.

Where there are conflicts in the testimony, we must defer to the jury’s resolution of the weight of

the evidence and the credibility of the witnesses”) (internal quotation marks and citation omitted);

see also United States v. Brock, 789 F.3d 60, 63 (2d Cir. 2015) (a Court must defer to “the jury’s

assessment of witness credibility”); Wiercinski v. Mangia 57, Inc., 787 F.3d 106, 112–13 (2d Cir.

2015) (it is the jury's role to determine whether a witness is credible and to decide what weight to

give to that witness's testimony).

                C. The Failure to Disclose this Evidence Resulted in Prejudice

         Soleimani was the Government’s critical witness. He personally made the initial complaint

that led the NYPD to initiate a criminal investigation, his statements to law enforcement

constituted the entire basis on which the Government obtained a criminal complaint against

Teman, and his testimony at trial was critical to the Government’s prosecution theory.

         The credibility of the Government’s witnesses was a key issue. At trial, the evidence clearly

established that Coney Realty’s Michael Haas swore in an affidavit to Signature Bank that Coney

had no knowledge of GateGuard—a representation Haas’ partner, Gabay, admitted under oath was

false:

         Q.     Yes. You knew exactly who GateGuard was, as you’ve previously testified
                about?
         A.     Correct.
                …
         Q.     And [in the affidavit] your company is telling the bank that you don’t know
                who GateGuard is; correct?
         A.     That’s what it says.




                                                  13
         Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 14 of 25




(TR. at 399-401). Evidence that another witness—Soleimani—also committed perjury would have

been unambiguously favorable to Teman. See Smith v. Cain, 565 U.S. 73, 76 (2012) (evidence

impeaching a witness is material when the witness’s testimony is the only evidence linking the

defendant to the crime).

         And here, this prejudice is magnified because this Court specifically ordered the

Government to learn and disclose this evidence to the defense—and to report back to this Court.

Regardless of whether the Government disregarded this Court’s order, or whether the Government

obtained but did not disclose this evidence, the bottom line remains: the defense reasonably relied

on the Government’s representations and had no choice but to take the Government at its word as

the Government first disclosed the Housing Court decision on a holiday weekend 48 hours before

trial.

         Instead, the Government not only failed to disclose this critical evidence but actually used

a leading question to elicit materially false testimony from Soleimani on this precise issue. The

concealment of this evidence from the defense—coupled with the false testimony elicited by the

prosecution during the Government’s direct examination of this witness—unambiguously affected

the outcome at trial, especially since the evidence proves that the witness lied to this jury.

         V.     The Introduction of Perjured Testimony Alone Requires a New Trial

         Where, as here, “the prosecution knew or should have known of the perjury, the conviction

must be set aside if there is any reasonable likelihood that the false testimony could have affected

the judgment of the jury.” United States v. Wallach, 935 F.2d 445, 456 (2d Cir. 1991) (internal

quotations omitted); see also Sanders v. Sullivan, 863 F.2d 218, 225 (2d Cir. 1988) (question is

whether the jury’s verdict “might” be altered). If the Government knowingly permitted the




                                                  14
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 15 of 25




introduction of false testimony, reversal is “virtually automatic.” United States v. Stofsky, 527 F.2d

237, 243 (2d. Cir. 1975). Indeed, even if the Government did not knowingly permit the introduction

of false testimony, “once it is shown that a material witness has intentionally lied with respect to

any matter, it is difficult to deny that the jury, had it known of the lie, ‘might’ have acquitted.” Id.

at 246-47.

       In this case, there can be no denying that the Government knew—or, at a bare minimum,

“should have known”—that Soleimani committed perjury. This Court had already imposed on the

Government the specific duty to inquire about whether Soleimani personally dealt with Howell

and the Government expressly acknowledged this task. The prosecution then proceeded to ask the

leading question, “And did you misrepresent anything to the tenant or was it others in your

company?” and Soleimani answered, “It was others.” (TR. at 502). When the prosecutor asked this

leading question, he, at a minimum, “should have known” the truth because the Government was

ordered by this Court to learn the truth. Given that Soleimani was such a key witness in the

Government’s case-in-chief, the jury—if made aware of Soleimani’s perjury—certainly “‘might’

have acquitted.” Stofsky, 527 F.2d at 246-47. Indeed, the jury would likely have rejected the

prosecution’s consistent pleas to believe Soleimani’s testimony and would have acquitted.

       VI.     The Government Also Violated the Jencks Act

       The Government failed to disclose Soleimani’s prior under-oath testimony about a very

subject the Government elicited testimony about during its direct examination. By eliciting that

testimony, Soleimani’s testimony in the Housing Court Case fell within the scope of the Jencks

Act. This violation alone necessitates a new trial.




                                                  15
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 16 of 25




       Even if this Court were to determine that the Government’s failure to disclose this evidence

was inadvertent, the law requires a new trial. “The Supreme Court has stated that, ‘[s]ince courts

cannot speculate whether (Jencks material) could have been utilized effectively at trial, the

harmless-error doctrine must be strictly applied in Jencks Act cases.’” United States v. Jackson,

345 F.3d 59, 77 (2d Cir. 2003) (quoting Goldberg v. United States, 425 U.S. 94, 111 n.21 (1976)

(internal quotations omitted)). As explained supra, this was far from harmless and the prejudice to

Teman was substantial.

       Thus, based on the Jencks Act violation alone, this Court should grant Teman a new trial.

       VII.    The Government Suppressed Additional Evidence

       To this day, the Government has also failed to disclose additional evidence—the

suppression of which also necessitates a new trial.

               A. The Government Misrepresented the Scope of the Actions Against Soleimani
                  and Gabay Which Encompass Claims of Dishonesty

       The Housing Court evidence was not the only evidence the Government suppressed. As

discussed supra, the Government moved to exclude all evidence concerning the involvement of

Soleimani and Gabay in numerous tenant complaints, lawsuits, and regulatory actions. (See Doc.

83). In so doing, the Government unequivocally represented to the defense and to this Court that

“there is no indication that any landlord-tenant complaints or lawsuits against Soleimani, Gabay,

or their companies would be probative of their ‘character for truthfulness or untruthfulness.’

Routine landlord-tenant disputes such as complaints or lawsuits about appliances, conditions in a

building, and rent charges are not probative of the witnesses’ truthfulness or untruthfulness.” (Id.

at 3) (emphasis added).




                                                16
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 17 of 25




       At trial, this Court accepted the Government’s representations and completely precluded

Teman from cross-examining Soleimani and Gabay about these matters. In doing so, this Court

explicitly relied on the Government’s representations regarding the underlying evidence: “These

violations relate to vermin, defective doors, and the perpetuation of hazards. These regulatory

violations or alleged violations do not, however, bear on Soleimani’s character for truth-telling.

They are inadmissible to impeach his trial testimony.” (TR. at 26). “As to Gabay, I will exclude

the evidence proffered by the government… [The evidence] addressed in the government’s letter

does not involve false statements or falsehoods.” (Id. at 30).

       However, evidence never disclosed by the Government reveals that the Government’s

representations regarding these complaints and lawsuits were not true. Specifically, the New York

City Department of Housing Preservation and Development (“HPD”) has brought numerous

claims against both Soleimani and Gabay that encompass “false certification of correction of

violations.” That is, both Soleimani and Gabay appear to be charged with falsely certifying—under

the penalties of perjury—that housing violations in their respective buildings had been corrected,

when, in fact, they had not.

       Attached are reports generated from HPD’s data showing violations of New York City’s

Housing Maintenance Code asserted against properties managed by Soleimani (Exhibit B) and

Gabay (Exhibit C). These reports do confirm the Government’s representation that Soleimani and

Gabay are charged with violations including “vermin, defective doors, and the perpetuation of

hazards.” However, the Government failed to disclose that both Soleimani and Gabay are not

charged merely with these code violations, but with falsely certifying such violations had been

corrected. See HPD’s Housing Maintenance Code Violations User Guide (Exhibit D) which




                                                 17
         Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 18 of 25




explains that “FALSE CERTIFICATION” status means: “The violation was certified as corrected

by the Owner... HPD found that condition had not been properly corrected. The violation is open

and is subject to civil penalties for false certification.” (Id.) (emphasis added).

        Moreover, the Government failed to disclose that HPD has further initiated litigation

against both Soleimani and Gabay for such false certifications. Attached as Exhibits E and F are

reports generated from the HPD’s data showing both Soleimani and Gabay personally named as

defendants in New York Civil Court litigation initiated by HPD.5 Also attached as Exhibit G is a

litigation report ‘Glossary’ from HPD, demonstrating that the ‘False Certification’ and

‘Comprehensive’ cases brought against Soleimani and Gabay pertain to false certifications each

has submitted.

        Thus, contrary to the Government’s representations, these are not “routine” landlord

complaints. Rather, these “false certification” actions demonstrate numerous instances in which

government regulators have found both Soleimani and Gabay have engaged in “false” or dishonest

business practices. This evidence is highly probative of these witnesses’ credibility. And here, too,

the Government appears to have suppressed this evidence, by representing—both to the defense

and to this Court—that these matters were categorically irrelevant to the credibility of Soleimani

and Gabay. This is even more concerning because the United States Attorney’s Office for the

Southern District of New York has a deep understanding of housing violations, including the extent

to which landlords in this district may systematically engage in dishonesty by falsely certifying

building repairs. See Complaint in United States v. N.Y.C. Housing Authority, No. 1:18-cv-05213



5
 The underlying documents in these cases are not electronically accessible and can only be obtained in person at the
New York County Clerk. Due to travel restrictions and closures resulting from the current COVID-19 pandemic,
Teman is presently unable to procure the underlying documents.




                                                        18
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 19 of 25




(WHP) (S.D.N.Y. 2018) (documenting this U.S. Attorney’s Office prosecution of claims of

dishonest certification of building repairs).

        This, too, was a Brady violation. There can be no denying that both Soleimani and Gabay

were central witnesses in this case. And there were critical “holes” in each witness’s respective

testimony, specifically regarding documents in this case. For example, Soleimani curiously

testified to failing to submit a declaration requested by Chase Bank and acknowledged his financial

interest in ensuring the subject RCCs could not be shown to be “authorized.” (See TR. 617-28).

And Gabay testified that Michael Haas, his business partner, falsely signed an affidavit in which

their company denied any knowledge of GateGuard to obtain reimbursement from Signature Bank.

(TR. 397-403). In this context, it would certainly be relevant for the jury to consider that Soleimani

and Gabay have faced numerous claims relating to false certifications each has made to

governmental authorities. But here, too, the Government suppressed this evidence and

misrepresented the nature and substance of this evidence to the defense and to this Court, thereby

successfully (but unconstitutionally) preventing Teman from impeaching Soleimani and Gabay

with this evidence at trial. This too necessitates a new trial.

                B. The Government’s Additional Representations Regarding Gabay are Not
                   Credible

        As set out supra, the bulk of the Government’s representations in its eleventh-hour motion

filed January 19, 2020 motion (Doc. 83) have proven to be false. By way of further example, in its

motion, the Government volunteered that Gabay “is a party to several landlord-tenant actions” and

provided an “example” of an action in which his company was fined for improperly overcharging

a tenant. (Id. at 2-3). The Government’s motion notably included a shorthand moniker for this case

(the “Rent Charge Case”), but the Government failed to provide any citation, reference, or




                                                  19
         Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 20 of 25




underlying documentation.6 Instead, the Government represented unequivocally that this evidence

was not probative of Gabay’s credibility.

        Here, too, the Government misled this Court and the defense. In its motion in limine, the

Government acknowledged Gabay was fined “treble damages” for rent overcharges, but in the

same breath, the Government maintained he never acted dishonestly. What the Government failed

to disclose is that treble damages are only applied in housing cases in which the owner is found to

have willfully overcharged the tenant. (See Exhibit E) (New York State Division of Housing and

Community Renewal Office of Rent Administration, Policy Statement 2019-1 (dated October 16,

2019)) (explaining that treble damages indicates a finding that “the overcharge is deemed to be

willful”). Though Teman remains unable to locate further documentation on what the Government

characterized as the “Rent Charge Case,”7 the representations made by the Government regarding

this case are not credible on their face. Irrespective of the Government’s attempts to downplay this

evidence, the imposition of treble damages against Gabay constitutes a finding he willfully engaged

in fraud and deceit. This, too, is undisclosed Brady.

        VIII. The Government’s Brady Violations Do Not Turn on Whether the Defense
              Could Have Discovered the Undisclosed Evidence

        As an initial matter, the evidence suppressed by the Government is not available

electronically through a database similar to the federal PACER system. For example, records of

Soleimani’s Housing Court testimony can only be obtained via written request to the New York




6
  In contrast, the Government did provide a copy of the Housing Court’s opinion in ABJ Milano LLC v. Stanley Howell
(despite suppressing critical underlying evidence in that case, as discussed supra).
7
  As discussed supra, even had the Government provided a citation to its “Rent Charge Case,” Teman could not have
obtained the underlying Housing Court records in time for use at trial. In any event, the extent of the Government’s
disclosure—an unnamed “Rent Charge Case”—is plainly insufficient, and to this day, Teman has been unable to
identify this case (let alone obtain the underlying records) despite significant efforts.




                                                        20
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 21 of 25




County Civil Court Clerk—a process that can take several weeks. In processing the request, the

Clerk first retrieves archived audio recordings of the requested court proceeding, and then provides

the recordings to a court reporter who prepares a certified transcript. Given the timing of the

Government’s eleventh-hour disclosure of this information just before trial, it was literally

impossible for Teman independently to obtain the relevant records from the Housing Court in time

to learn the information and to use it at trial.

        Nevertheless, as a matter of constitutional law, Teman’s ability to independently discover

the undisclosed evidence has no bearing on the Government’s due process violation under Brady

that necessitates a new trial.

        In Brady, the Supreme Court held that “the suppression by the prosecution of evidence

favorable to an accused violates due process where the evidence is material either to guilt or to

punishment.” 373 U.S. at 87. And 41 years later, the Supreme Court affirmed that Brady is first

and foremost a disclosure obligation imposed on the prosecution. Banks v. Dretke, 540 U.S. 668,

695 (2004) (flatly rejecting the “notion that defendants must scavenge for hints of undisclosed

Brady material when the prosecution represents that all such material has been disclosed”). Instead,

defendants such as Teman are entitled to presume that “public officials have properly discharged

their official duties” when they claim they have. Id. at 696.

        In the Second Circuit and at least five others (Third, Sixth, Ninth, Tenth, and D.C. Circuits),

a defendant’s Brady claim only fails if the defendant had actual knowledge of the information the

Government failed to disclose, not “those [facts] that might be unearthed” through an exercise of

due diligence. See Lewis v. Connecticut Commissioner of Correction, 790 F.3d 109 (2d Cir. 2015)

(holding that a state court’s imposition of “an affirmative ‘due diligence’ requirement” was




                                                   21
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 22 of 25




impermissible because it “plainly violated clearly established federal law under Brady and its

progeny”). The Second Circuit drew a clear line: “‘[e]vidence is not ‘suppressed’ [under Brady] if

the defendant either knew, or should have known, of the essential facts permitting him to take

advantage of any exculpatory evidence.’” Id. at 121. But this requirement “speaks to facts already

within the defendant’s purview” based on the defendant’s actual knowledge, not facts “that might

be unearthed” through diligence. Id.; see also Barton v. Warden, S. Ohio Corr. Facility, 786 F.3d

450, 468 (6th Cir. 2015) (Brady requires “the State to turn over all material exculpatory and

impeachment evidence to the defense,” not merely “some evidence, on the assumption that defense

counsel will find the cookie from a trail of crumbs”); Amado v. Gonzalez, 758 F.3d 1119, 1136

(9th Cir. 2014) (defendant is entitled to “rely on the prosecutor’s obligation to produce that which

Brady and Giglio require him to produce,” regardless of whether or not defense “counsel could

have found the information himself”); Banks v. Reynolds, 54 F.3d 1508, 1517 (10th Cir. 1995)

(whether the defense “knew or should have known” about the information is irrelevant to whether

the prosecution had an obligation to disclose [the evidence]”) (emphasis added); United States v.

Nelson, 979 F.Supp.2d 133 (D.D.C. 2013) (“Brady does not excuse the government’s disclosure

obligation where reasonable investigation and due diligence by the defense could also lead to

discovering exculpatory evidence” (explaining binding Circuit authority in In re Sealed Case No.

99-3096 (Brady Obligations), 185 F.3d 887 (D.C. Cir. 1999)); Dennis v. Secretary, Pennsylvania

Department of Corrections, 834 F.3d 263, 290 (3d Cir. 2016) (en banc) (“Brady’s mandate and its

progeny are entirely focused on prosecutorial disclosure, not defense counsel’s diligence”).

       In this case, the prosecution had a constitutional duty to disclose the information it hid from

the defense. Over and above this duty, this Court gave the Government a direct order requiring




                                                 22
        Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 23 of 25




further inquiry and disclosure—an order the prosecution explicitly acknowledged and accepted.

As the Supreme Court has made clear, Brady is predicated on a view of “the prosecutor as the

representative of a sovereignty whose interest in a criminal prosecution is not that it shall win a

case, but that justice shall be done.” Kyles, 514 U.S. at 439 (citations and ellipses omitted). Where

the prosecution not only fails to disclose impeachment evidence to the defense—but instead elicits

perjury from its star witness through a leading question that, by this Court’s order, foreclosed any

cross-examination on the subject by the defense—“justice” has not been “done.” Id.

       IX.     Conclusion

       Based on the foregoing, it is clear the Government suppressed evidence that was favorable

to Teman and the Government’s failure to disclose this evidence resulted in prejudice. See Coppa,

267 F.3d at 140. Thus, as a matter of law, Teman is entitled to a new trial. Where, as here, the

Brady violation is coupled with false testimony elicited by the prosecution from the Government’s

star witness on the very topic of the undisclosed evidence, due process mandates a new trial.




                                                 23
Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 24 of 25




                                    Respectfully submitted,

                                    /s/ Justin K. Gelfand
                                    JUSTIN K. GELFAND
                                    MO Bar # 62265
                                    MARGULIS GELFAND, LLC
                                    8000 Maryland Ave., Ste. 420
                                    St. Louis, MO 63105
                                    Telephone: (314) 390-0234
                                    Facsimile: (314) 485-2264
                                    justin@margulisgelfand.com

                                    — and —

                                    /s/ Joseph A. DiRuzzo, III
                                    Joseph A. DiRuzzo, III
                                    NY Bar # 4417853
                                    DIRUZZO & COMPANY
                                    Joseph A. DiRuzzo, III
                                    401 East Las Olas Blvd., Suite 1400 Ft.
                                    Lauderdale, FL 33301
                                    Telephone: (954) 615-1676
                                    Facsimile: (954) 827-0340
                                    jd@diruzzolaw.com

                                    Attorneys for Teman

                                    /s/ Alan Dershowitz
                                    ALAN DERSHOWITZ*
                                    1575 Massachusetts Avenue
                                    Cambridge, MA 02138

                                    Of Counsel

                                    *Member of the Massachusetts Bar and the
                                    United States Court of Appeals for the
                                    Second Circuit; will seek pro hac vice
                                    admission in this case




                               24
       Case 1:19-cr-00696-PAE Document 118 Filed 04/09/20 Page 25 of 25




                                      Certificate of Service

      I hereby certify that I filed the foregoing through the Court’s CM/ECF system which will

provide notice of filing to all counsel of record.



                                                      /s/ Justin K. Gelfand
                                                      JUSTIN K. GELFAND, #62265
                                                      8000 Maryland Ave., Ste. 420
                                                      St. Louis, MO 63105
                                                      Telephone: (314) 390-0234
                                                      Facsimile: (314) 485-2264
                                                      justin@margulisgelfand.com
                                                      Attorney for Teman




                                                 25
